             Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 1 of 20



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DONNOZ                                              COURT OF COMMON PLEAS
                                 Plaintiff           PIULADF..LPIIIA COUNTY

                         v.                          :'.\10.: 1810-2033

 YORK RISK SERVICES GROUP AND                        CMLACTION
 GOVER..NMENT EMPLOYEES                                                                   C:      I,"\ _,,
                                                                                          r...., f•V /:l • )':I   11.·
 INSURANCE COMPANY                                   NO.--------
                     Defendants


                                     NOTICE OF REMOVAL                                    ! 1V l 1 20i8
TO:    THE HONORABLE JUDGES OF THE UNITED STA'.fES DISTRIC'f..4R:T~~,3~_'~/~rk
       FOR THE EASTERN DISTRICT OF PENNSYLVANIA          B y _ ~ '-'

        Defendant, GEICO Advantage Insurance Company, incorrectly identified is Government

Employees Insurance Company, by and through its undersigned attorneys, hereby files a Notice of

Removal of this case fr~m the Court of Common Pleas of Philadelphia County, Pennsylvania tn

which it is now pending, to the United States District Court for the Eastern District of Pennsylvania,

and in support thereof avers as follows:

        1.       This action was commenced by way of Complaint filed in the Court of Common

Pleas of Philadelphia County, Pennsylvania, on October 16, 2018 and docketed at October Term,

2018, No. 2033. A true and correct copy of the Complaint is attached hereto as Exhibit "A."

        2.       A copy of the Complaint was received via certified mail to Defendant on October

23, 2018.

        3.       The Complaint avers claims for Uninsured Motorist Benefits against Defendants

arising out of a March 7, 2017 motor vehicle accident. See Exhibit "A."

        4.       Platntiff, Don Noz, at the time this action was commenced, and presently, is a c1t1Zen

and resident of Quakertown, Pennsylvania. See Exhibit "A."
           Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 2 of 20



          5.      Defendant, GEICO Advantage Insurance Company, at the time this action was

commenced, and presently, has a principal place of business in Fredericksburg, VA. See Exhibit

"A."

          6.      Defendant, GEICO Advantage Insurance Company is a corporation dorruciled in

Montgomery County, State of Maryland.

          7.      Co-Defendant, York Risk Services Group, at the time of this action was commenced

has a principal place of business located in Pars1ppany, NJ. See Exhibit "A."

          8.      The value of the matter in controversy, as appearing from the allegations contained

in Plaintiff's Complaint, is alleged by Plaintiff to exceed the amount of $50,000.00.

          9.      The present lawsuit is removal from State Court to this District Court of the Cnited

States pursuant to 28 U.S.C. §1332(a)(1) arid §1441(a).

          10.     Copies of all pleadings which have been rece1v;ed and/ or filed by Defendant are

attached hereto. See Exhibits "A" and ''B."

          11.     The above described action is one which may be removed to this Honorable Court

by Defendant pursuant to the provisions of 28 U.S.C.§1441(a) in that this action has been brought

in   a state court and a district court of the United States as the original jurisdiction under 28 U.S.C.

§1332(a)(1), there being complete diversity of citizenship between Plaintiff and Defendants and the

amount in controversy, exclusion of interest and costs as alleged by Plaintiff, exceeds $75,000.00.

          12.     This notice is timely, as it is being filed within 30 days of the receipt by Defendant of

a copy of Plaintiff's Complaint setting forth the claims for relief upon which the action is based.

          13.     Defendant expressly reserves the right to raise all.defenses and objecttons in this

action after it is removed to this court.

          14.     A true and correct copy of this Notice of Removal 1s being filed with the

Prothonotary of the Court of Common Pleas of Philadelphia County, Pennsylvania as provided by
         Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 3 of 20



28 U.S.C.§1446(d).

        15.    Written notlce of the filing of this Nouce of Removal will be given to all parties as

required by 28 U.S.C. §1446(d).

        16.     Counsel for Defendant centered their appearance on :'.\lovember 2, 2018 in the Court

of Common Pleas, Philadelphia County, and perfected a jury trial demand. A copy of the Entry of

Appearance and Jury Trial Demand is attached as Exhibit "B."

        WHEREFORE, Nouce is given that this action is removed from the Court of Common

Pleas of Philadelphia County, Pennsylvania to the Uruted States Distnct Court for the Eastern

District of Pennsylvania.

                                              LAW OFFICE OF SUE ANN ECKELL



                                                        r e Lim Slocum, Esquire
                                                           mey for Defendant,
                                                      GEICO Advantage Insurance Company,
                                                      incorrectly identified as Government
                                                      Employees Insurance Company

                                                      Attorney ID No. 313448
                                                      1515 Market Street, Swte 1910
                                                      Philadelphia, PA 19102
                                                      (215) 557-7340
Date: November 21, 2018
         Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 4 of 20



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DONNOZ                                            COC"RT OF COMMO~ PLEAS
                                Plainnff           PHILADELPHIA COC"NTY

                        v.                         NO.: 1810-2033

 YORK RISK SERVICES GROUP AND                      CIVIL ACTIO!\'
 GOVERNMENT E:'.\1PLOYEES
 INSURANCE CO~ANY                                  NO. _ _ _ _ _ __
                     Defendants


TO:    PROTHONOTARY                                York Risk Services Group
       Court Of Common Pleas                       One Upper Pond Road
       Philadelphia County                         Building F - 41h Floor
       Philadelphia, PA                            Parsippany, NJ 07024

       Marc Simon, Esquire
       Srmon & Simon
       1818 Market Street, Suite 2000
       Philadelphia, PA 19102

        PLEASE TAKE NOTICE THAT on November 21, 2018, Defendant, GEICO Advantage
Insurance Company, incorrectly identified as Government Employees Insurance Company, filed in
the Office of the Clerk for the United States District Court for the Eastern District of Pennsylvarua
a NOTICE OF REMOVAL.

        A copy of the ~otice 1s also bemg filed with the Prothonotary of the Court of Common
Pleas of Montgomery County, pursuant to Title 28 C.S.C. §1446(d).

                                                               OF SUE ANN ECKELL



                                                        ra e Lrm Slocum, Esquire
                                                      Att ney for Defendant,
                                                         , CO Advantage Insurance Company,
                                                      tncorrectly identified as Government
                                                      Employees Insurance Company

                                                      Attorney ID No. 313448
                                                      1515 ;\.farket Street, Suite 1910
                                                      Phtladelphia, PA 19102
                                                      (215) 557-7340
Date: l\:"ovember 21, 2018
         Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 5 of 20




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DONNOZ                                           COURT OF COMMON PLEAS
                                  Plarntiff       PHILADELPHIA COUN1Y

                         v.                       ~O.: 1810-2033

 YORK RISK SERVICES GROUP AND                     CIVIL ACTION
 GOVERNMENT EMPLOYEES                                                                 .   . .. .   --;:.
 INSURANCE COMPANY                                NO. _ _ _ _ _ __                             ·-:,.1:<"""J

                              Defendants
                                                                                               ... C -~..
                                                                                                       -,µ.1.,,31"\{.
                                   CERTIFICATE OF SERVICE
                                                                                                              ..,t..•.


       I, Grace Lim Slocum, Esquire, do hereby certify that a true and correct copy of Defendant's
Notice of Removal was served as noted below:

             Marc Simon, Esquire                              York Risk Services Group
                Simon & Simon                                  One Cpper Pond Road
         1818 Market Street, Suite 2000                        Building F -- 4th Floor
            Philadelphia, PA 19102                             Parsippany, NJ 07024
         via eji!ing and USPS regular mat"!                    via USPS regular mail on!J


                                                              OF SUE ANN ECKELL



                                                       ra Lim Slocum, Esqwre
                                                       tto ney for Defendant,
                                                      , , CO Advantage Insurance Company,
                                                     rncorrectly identified as Government
                                                     Employees Insurance Company

                                                     Attorney ID No. 313448
                                                     1515 Market Street, Swte 1910
                                                     Philadelphia, PA 19102
                                                     (215) 557- 7340
Date: November 21, 2018
         Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 6 of 20




                                          VERIFICATION

     The undersigned, being duly sworn accord.mg to law, deposes and says that he/she is counsel

for the party or parties indicated on the preceding page as being represented by said counsel, that

he/ she has examined the pleadings and the entire investigative file made on behalf of said party or

parties, that he/she 1s taking this verification to assure compliance with the pertinent rules pertaining

to timely filing of pleadings and other documents described by said rules; and that the facts set forth

in the foregoing document are true and correct to the best of his/her knowledge, information and

belief. The undersigned understands that the statements therein are made subject to the penalties of

18 PA C.S. SECTION 4904 relating to unsworn falsification to authorities.



                                        BY:
                                                G
Date: November 21, 2018
Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 7 of 20




EXHIBIT '' A''                                                  ·
       Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 8 of 20




                                    THIS IS NOT AN ARBITRATION COMPLAINT
                                    AN ASSESSMENT OF DAMAGES litli
                                    IS REQUIRED
SIMON & SIMON, P.C.
BY: Marc I. Simon, Esquire               Mary G. McCarthy, Esquire
    Joshua A. Rosen, Esquire             Harry Gosnear, Esquire
    Matthew J. Zamites, Esquire          Daniel Ward, Esquire
    Brian F. George, Esquire             Frank Palecko, Esquire
    Andrew Baron, Esquire                Gabriel Magee, Esquire
    Grady Lowman, Esquire                James Gundlach, Esquire
    Jason Whalley, Esquire               Christopher Green, Esquire
    Joshua Baer, Esquire                 Stacy Hughes, Esquire
    Michael K. Simon, Esquire            Thomas Lipscomb, Esquire
    Sam Reznik, Esquire                  Lauren Mazitelli, Esquire
    Bryan Arner, Esquire                 Kevin Boswell, Esquire
    Jennifer Hoffman, Esquire

Attorney ID No. 's:                      Attorneys for Plaintiff
201798

1818 Market Street, 20th Floor
Philadelphia, PA 19103
(215-467-4666)

DonNoz                                               IN THE COURT OF COMMON PLEAS
5826 Clymer Road                                     PHILADELPHIA COUNTY
Quakertown, PA 18951
                                                     October Term 2018

                                                     No.
                             Plaintiff
       vs.

York Risk Services Group
One Upper Pond Road
Building F - 4th Floor
Parsippany, NJ 07054

       And

Government Employees Insurance Company
One Geico Boulevard
Fredericksburg, VA 22412

                             Defendants




                                                                               Case ID:   181002033
       Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 9 of 20




                                     NOTICE TO DEFEND

                   NOTICE                                         AVISO
  You have been sued in court. If you wish to
                                   Le han demandado a usted en la corte. Si usted
                                 quiere defenderse de estas demandas expuestas en
defend against the claims set forth in the
                                 las paginas siguientes, usted tiene viente (20) dfas
following pages, you must take action within
                                 de plaza al partir de la fecha de la demanda y la
twenty (20) days after this complaint and
                                 notificaci6n.
notice are served, by entering a written             Hace falta asentar una
                                 comparecencia escrita o en persona o con un
appearance personally or by attorney and filing
                                 abogado y entregar a la carte en forma escrita sus
in writing with the court your defenses or
objections to the claims set forth against you.
                                 defensas o sus objeciones a las demandas en
                                 contra de su persona. Sea avisado que si usted no
You are warned that if you fail to do so the
                                 se defiende, la carte tomara medidas y puede
case may proceed without you and a judgment
                                 continuar la demanda en contra suya sin previo
may be entered against you by the court
                                 aviso o notificaci6n. Ademas, la corte puede
without further notice for any money claimed
                                 decidir a favor del demandante y requiere que
in the complaint or for any other claim or relief
                                 usted cumpla con todas las provisiones de esta
requested by Ms. Olson. You may lose money
                                 demanda. Usted puede perder dinero o sus
or property or other rights important to you.
                                 propiedades u otros derechos importantes para
YOU SHOULD TAKE THIS PAPER TO
                                 usted.
YOUR LA WYER AT ONCE. IF YOU DO
NOT HAVE A LA WYER OR CANNOT . LLEVE ESTA DEMANDA A UN ABOGADO
AFFORD ONE, GO TO OR TELEPHONE IMMEDIATAMENTE.                   SI NO TIENE
THE OFFICE SET FORTH BELOW TO ABOGADO O SI NO TIENE EL DINERO
FIND OUT WHERE YOU CAN GET LEGAL SUFICIENTE DE PAGAR TAL SERVICIO,
HELP.                            VA YA EN PERSONA O LLAME POR
                                 TELEFONO         A     LA      OFICINA       CCYA
   PIDLADELPIDA BAR ASSOCIATION
                                 DIRECCION SE ENCUENTRA ESCRITA
       LAWYER REFERRAL AND
       INFORMATION SERVICE       ABAJO PARA AVERIGUAR DONDE SE
           One Reading Center    PUEDE CONSEGUIR ASISTENCIA LEGAL.
       Philadelphia Pennsylvania 19107              ASOCIACION DE LICENCIADOS DE
         Telephone: (215) 238-1701                           FILADELFIA
                                                      SERVICIO DE REFERENCIA E
                                                         INFORMACION LEGAL
                                                            One Reading Center
                                                       Filadelfia, Pennsylvania 19107
                                                         Telefono: (215) 238-1701




                                                                                        Case ID: 181002033
      Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 10 of 20




                                            COMPLAINT

    1. Plaintiff, Don Noz, is a resident of the Commonwealth of Pennsylvania, residing at the

address listed in the caption of this Complaint.

   2. Defendant, York Risk Services Group, was at all times material hereto, an insurance

company, duly authorized and licensed to practice its profession by the Commonwealth of

Pennsylvania, and was engaged in the practice of providing insurance policies, including but not

limited to motor vehicle liability policies including underinsured and uninsured motorist

coverage.

   3. Defendant, Government Employees Insurance Company, was at all times material hereto,

an insurance company, duly authorized and licensed to practice its profession by the

Commonwealth of Pennsylvania, and was engaged in the practice of providing insurance

policies, including but not limited to motor vehicle liability policies including underinsured and

uninsured motorist coverage.

   4. Upon information and belief, Defendant regularly and systematically transacts business

in Philadelphia County so as to be subject to venue and in personem jurisdiction in Philadelphia.

   5. On or about March, 7, 2017 at approximately 9:52 p.m., Plaintiff was the operator of a

motor vehicle, which was traveling on NJ-70 and McClellan Avenue, Pennsauken Township, NJ.

    6. At the same date and time, tortfeasor, Andrew Fernandez Jr, who was uninsured, was the

operator of a motor vehicle which was traveling at or near the aforesaid intersection and/or

location of Plaintiffs vehicle.

   7. At or about the same date and time, tortfeasor's vehicle was involved in a motor vehicle

collision rear-ending Plaintiffs vehicle.

    8. The aforesaid motor vehicle collision was the direct result of the tortfeasor negligently

and/or carelessly operating his vehicle in such a manner so as to rear-end Plaintiffs vehicle.



                                                                                               Case ID:   181002033 -
       Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 11 of 20




    9. The aforesaid motor vehicle collision was the result of the negligence and/or carelessness

of the tortfeasor and not the result of any action or failure to act by the Plaintiff.

    10. As a result of the accident, the Plaintiff suffered serious, severe and permanent bodily

injuries including, arm, abdomen, neck, and head injuries, as set forth more fully below.

                                           COUNTI
                              Don Noz v. York Risk Services Group
                                 Uninsured Motorists Coverage

    11. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth fully at

length herein.

    12. The negligence and/or carelessness of the tortfeasor, which was the direct and sole cause

of the aforesaid motor vehicle accident and the injuries and damages sustained by the Plaintiff,

consisted of, but are not limited to, the following:

                   a.   Rear-ending Plaintiffs vehicle;

                   b.   Failing to yield the right-of-way;

                   c.   Operating his vehicle into Plaintiffs lane of travel;

                   d.    Failing to maintain proper distance between vehicles;

                   e.   Operating his vehicle in a negligent and/or careless manner without regard

                  for the rights or safety of Plaintiff or others;

                   f.   Failing to have his vehicle under proper and adequate control;

                   g.   Operating his vehicle at a dangerously high rate of speed for conditions;

                   h.   Violation of the "assured clear distance ahead" rule;

                   1.   Failure to keep a proper lookout;

                   j.    Failure to apply brakes earlier to stop the vehicle without rear-ending

                        Plaintiffs vehicle;

                   k.   Being inattentive to his duties as an operator of a motor vehicle;

                   I.   Disregarding traffic lanes, patterns, and other devices;

                                                                                               Case ID:   181002033
      Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 12 of 20




                  m.   Driving at a dangerously high rate of speed for conditions;

                  n.   Failing to remain continually alert while operating said vehicle;

                  o.   Failing to perceive the highly apparent danger to others which the actions

                       and/or inactions posed;

                  p.   Failing to give Plaintiff meaningful warning signs concerning the

                       impending collision;

                  q.   Failing to exercise ordinary care to avoid a rear-ending collision;

                  r.   Failing to be highly vigilant and maintain sufficient control of said vehicle

                       and to bring it to a stop on the shortest possible notice;

                  s.   Operating said vehicle with disregard for the rights of Plaintiff, even

                       though he was.aware or should have been aware of the presence of

                       Plaintiff and the threat of harm posed to her;

                  t.   Continuing to operate the vehicle in a direction towards Plaintiffs vehicle

                       when he saw, or in the exercise of reasonable diligence, should have seen,

                 that further operation in that direction would result in a collision;

                  u.   Failing to operate said vehicle in compliance with the applicable laws and

                       ordinances of the Commonwealth of Pennsylvania pertaining to the

                       operation and control of motor vehicles;

    13. As a direct and consequential result of the negligent and/or careless conduct of the

tortfeasor, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions including, arm, abdomen, neck, and head injuries, all to

Plaintiffs great loss and detriment.

    14. As a result of these injuries, all of which are permanent in nature and all of which are to

Plaintiffs great financial detriment and loss, Plaintiff has in the past, is presently and may in the

                                                                                                 Case ID: 181002033
       Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 13 of 20




future suffer great anguish, sickness and agony and will continue to suffer for an indefinite time

into the future.

    15. As an additional result of the carelessness and/or negligence of the tortfeasor, Plaintiff

has suffered emotional injuries, along with the physical injuries suffered.

    16. As a further result of the aforesaid injuries, Plaintiff has in the past, is presently and may

in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiffs further

loss and detriment.

    17. Upon information and belief, at the time of the aforementioned motor vehicle collision,

the aforesaid tortfeasor's motor vehicle insurance policy and/or liability insurance were

insufficient to fully and adequately compensate Plaintiff for the injuries suffered in the above set

forth motor vehicle collision and/or other damages and exper.ises related thereto.

    18. At the date and time of the aforementioned motor vehicle collision, Plaintiff, was the

owner and operator of a motor vehicle was covered by a policy of insurance issued by

Defendant, under Policy Number 4420045249, which included coverage for underinsured

motorist coverage applicable to Plaintiff.

    19. Accordingly, Plaintiff asserts an Underinsured Motorist Claim against Defendant.

        WHEREFORE, Plaintiff demands judgment in Plaintiffs favor and against defendant, in

an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all costs and other relief this

court deems necessary.

                                         COUNT II
                   Don Noz v. Government Employees Insurance Company
                               l:ninsured Motorists Coverage

    1. Plaintiff incorporates the foregoing paragraphs of this Complaint as if set forth fully at

length herein.




                                                                                                Case ID:   181002033
       Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 14 of 20




   2. The negligence and/or carelessness of the tortfeasor, which was the direct and sole cause

of the aforesaid motor vehicle accident and the injuries and damages sustained by the Plaintiff,

consisted of, but are not limited to, the following:

                  a.   Rear-ending Plaintiffs vehicle;

                  b.   Failing to yield the right-of-way;

                  c.   Operating his vehicle into Plaintiffs lane of travel;

                  d.    Failing to maintain proper distance between vehicles;

                  e.   Operating his vehicle in a negligent and/or careless manner without regard

                 for the rights or safety of Plaintiff or others;

                  f.   Failing to have his vehicle under proper and adequate control;

                  g.   Operating his vehicle at a dangerously high rate of speed for conditions;

                  h.   Violation of the "assured clear distance ahead" rule;

                  i.   Failure to keep a proper lookout;

                  j.    Failure to apply brakes earlier to stop the vehicle without rear-ending

                        Plaintiffs vehicle;

                  k.   Being inattentive to his duties as an operator of a motor vehicle;

                  l.    Disregarding traffic lanes, patterns, and other devices;

                  m.    Driving at a dangerously high rate of speed for conditions;

                  n.    Failing to remain continually alert while operating said vehicle;

                  o.    Failing to perceive the highly apparent danger to others which the actions

                       and/or inactions posed;

                  p.    Failing to give Plaintiff meaningful warning signs concerning the

                        impending collision;

                  q.    Failihg to exercise ordinary care to avoid a rear-ending collision;



                                                                                              Case ID:   1s1002033
         Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 15 of 20




                   r.    Failing to be highly vigilant and maintain sufficient control of said vehicle

                         and to bring it to a stop on the shortest possible notice;

                   s.    Operating said vehicle with disregard for the rights of Plaintiff, even

                         though he was aware or should have been aware of the presence of

                         Plaintiff and the threat of harm posed to her;

                   t.    Continuing to operate the vehicle in a direction towards Plaintiffs vehicle

                         when he saw, or in the exercise of reasona~le diligence, should have seen,

                   that further operation in that direction would result in a collision;

                   u.    Failing to operate said vehicle in compliance with the applicable laws and

                         ordinances of the Commonwealth of Pennsylvania pertaining to the

                         operati?n and control of motor vehicles;

    3. As a direct and consequential result of the negligent and/or careless conduct of the

tortfeasor, described above, the Plaintiff suffered various serious and permanent personal

injuries, serious impairment of bodily function and/or permanent serious disfigurement and/or

aggravation of pre-existing conditions including, arm, abdomen, neck, and head injuries, all to

Plaintiffs great loss and detriment.

    4.    As a result of these injuries, all of which are permanent in nature and all of which are to

Plaintiffs great financial detriment and loss, Plaintiff has in the past, is presently and may in the

future suffer great anguish, sickness and agony and will continue to suffer for an indefinite time

into the future.

    5.   As an additional result of the carelessness and/or negligence of the tortfeasor, Plaintiff

has suffered emotional injuries, along with the physical injuries suffered.

    6.   As a further resulrofthe aforesaid injuries, Plaintiff has in the past, is presently and may

in the future undergo a great loss of earnings and/or earning capacity, all to Plaintiffs further

loss and detriment.

                                                                                                   Case ID:   181002033
       Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 16 of 20




   7. Upon information and belief, at the time of the aforementioned motor vehicle collision,

the aforesaid tortfeasor's motor vehicle insurance policy and/or liability insurance were

insufficient to fully and adequately compensate Plaintiff for the injuries suffered in the above set

forth motor vehicle collision and/or other damages and expenses related thereto.

   8. At the date and time of the aforementioned motor vehicle collision, Plaintiff, was the

owner and operator of a motor vehicle was covered by a policy of insurance issued by

Defendant, under Policy Number 4420045249, which included coverage for underinsured

motorist coverage applicable to Plaintiff.

   9. Accordingly, Plaintiff asserts an Underinsured Motorist Claim against Defendant.

       WHEREFORE, Plaintiff demands judgment in Plaintiffs favor and against defendant, in

an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all costs and other relief this

court deems necessary.



                                                      SIMON & SIMON, P.C.
                                               BY:               _lL_ ________
                                                      Marc I. Simon, Esquire
                                                      Simon & Simon, P.C.
                                                      1818 Market Street
                                                      Suite 2000
                                                      Philadelphia, PA 19103
                                                      215-467-4666
                                                      Attorney for Plaintiff




                                                                                               Case ID: 181002033
     Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 17 of 20




        I. Marc Simon. hereby state that I am attorney for the Plaintiff in the within action and

that the ffil..iS set forth in this Civil Actio:o ComplaitJI. above are true and correct to the best of my

knowledge. information and belief.

        I understand that the statements in this Verification are made subject to the penal.ti~ of

}8. U.S.C.A:§   1001 relating to unswom falsJfication to authorities.




                                                                   Marc I. Simon




                                                                                                     Case ID: 1 s 1002033
     Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 18 of 20




                                        VERIFICATION

       I, _ _ _ _ _ _ _ , am the plaintiff in this action, and I hereby state that the facts set

forth in the foregoing Complaint are true and correct to the best of my knowledge, information,

and belief. I understand that this verification is subject to 18 Pa. C.S. § 4904 providing for

criminal penalties for unswom falsification to authorities.




                                                                                                 Case ID:   181002033
Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 19 of 20




EXHIBIT ''B''
      Case 2:18-cv-05051-CFK Document 1 Filed 11/21/18 Page 20 of 20




LAW OFFICE OF SUE ANN ECKELL                                            Office 1t
                                                                                ,I
                                                                                                  p.zn
BY:     GRACE LIM SLOCUM, ESQUIRE                    ATTORNEY FOR DE.ffi
Identification No. 313448                            GEICO ADVANTAGE IN~
1515 Market Street, Suite 1910
Philadelphia, PA 19102
21s-ss7;7340
DONNOZ                                               PHILADELPHIA COUNTY
                                                     COURT OF COMMON PLEAS
                      vs.
                                                     OCTOBER TERM 2018 NO. 2033
YORK RISK SERVICES GROUP AND
GEICO ADVANTAGE INSURANCE
COMPANY


                                   ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

          Kindly enter tny appearance on behalf of Defendant, GEICO Advantage Insurance,

{in<;:orrectly designated as Government Employees Insurance Company), in the above-captioned

matter.



                                       BY:



                                  PEMAND FOR JURY TRIAL

TO TI IE PROTHONOTARY:

          Please note that the Defendant, GEICO Advantage Insurance, (incorrectly designated as

Government Employees Insurance Company), hereby demands and perfects a trial by juty of twelve

(12) members and one altemate in the above-captioned matter

                                                       FFICE OF SUE ANN ECK.ELL

                                        BY:
                                               G      ELIM SLOCUM, ESQUIRE




                                                                                           Case ID:      1s1002033
